                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TENNESSEE
                                     KNOXVILLE DIVISION

HOUSE OF THALLER, INC., and                       )
ACUITY, A MUTUAL INSURANCE                        )
COMPANY, a/s/o HOUSE OF                           )
THALLER, INC.,                                    )
                                                  )
         Plaintiffs,                              )
                                                  )
v.                                                )   No. 3:20-cv-243
                                                  )   JURY DEMANDED
                                                  )
HANOVER FOODS CORPORATION,                        )
                                                  )
         Defendant.                               )

                                                COMPLAINT

         The Plaintiffs, House of Thaller, Inc., (“House of Thaller”) and Acuity, A Mutual

Insurance Company, as subrogee of House of Thaller (“Acuity”), for their Complaint, would

state as follows:

                                           I.    THE PARTIES

         1.       House of Thaller is a for profit corporation organized under the laws of the

State of Tennessee, with its principal place of business located at 1600 Harris Road,

Knoxville, Tennessee 37924. House of Thaller is a citizen and resident of the State of

Tennessee for purposes of 28 U.S.C. § 1332.

         2.       Acuity is an insurance company incorporated under the laws of the State of

Wisconsin and licensed in the State of Tennessee to transact insurance business. Acuity

is a citizen and resident of the State of Wisconsin for purposes of 28 U.S.C. § 1332.

         3.       Hanover Foods Corporation (“Hanover”) is a for profit corporation organized

under the laws of the State of Pennsylvania, with its principal place of business located




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at 1486 York Street, P.O. Box 334, Hanover, Pennsylvania 17331. Hanover is a citizen

and resident of the State of Wisconsin for purposes of 28 U.S.C. § 1332.

                                   II.     VENUE AND JURISDICTION

         4.       Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 3.

         5.       Jurisdiction is proper within this Court pursuant to 28 U.S.C. § 1332 as the

parties to this action are citizens and residents of different states and the amount in

controversy, as stated more fully below, exceeds $75,000, exclusive of interest and cost.

Therefore, jurisdiction with the U.S. District Court for the Eastern District of Tennessee is

proper.

         6.       As a substantial part of the events or omissions giving rise to this suit

occurred within the Eastern District of Tennessee, and within this Division, venue is

proper in this Court and in this Division pursuant to 28 U.S.C. § 1391.

                                    III.   FACTUAL BACKGROUND

         7.       Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 6.

         8.       House of Thaller packages and distributes food products for purchase by the

public at various grocery stores and supermarkets across the United States of America.

         9.       At all times relevant to this action, Acuity insured House of Thaller providing

Commercial Property Coverage, under insurance policy no. Z19787 (“the policy”). The policy

provided business income and extra expense coverage for Premises 1, Location 1 , which

was 1600 Harris Road, Knoxville, Tennessee 37924. The business income and extra

expense coverage had a policy coverage limit of $448,721.00.



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         10.      The Food and Drug Administration (“FDA”) requires current good

manufacturing practices, hazard analysis, and risk-based preventative controls for human

food. See 21 C.F.R. § 117 et seq. As part thereof, an appropriate supply-chain program

requires use of approved suppliers as required by 21 C.F.R. § 117.420. Receiving

facilities are bound to approving suppliers in accordance with the requirements of 21

C.F.R. § 117.410(d). In approving suppliers in accordance with the requirements of 21

C.F.R. § 117.410(d), House of Thaller had in place specific requirements before it would

approve use of a certain supplier/vendor. Any supplier/vendor must be in strict

compliance with these specific requirements in order to become an official vendor for

House of Thaller. As part of these specific requirements, Listeria species must be

negative/undetected to be accepted into House of Thaller’s production facility. Upon

information and belief, Hanover expressly agreed to this by executing and delivering to

House of Thaller a Supplier Questionnaire.

         11.      In or about March 2017, House of Thaller received a shipment of black

beans that were produced, sold, and delivered by Hanover. These black beans were

intended to be used to manufacture and distribute food products for retail purchase. This

load of black beans consisted of 18 totes of black beans. This load of black beans was

designated with lot code 17052323.

         12.      Pursuant to House of Thaller protocol, before accepting lot 17052323 into

its facility, micro testing was performed on a sampling of the black beans from lot

17052323. Lot 17052323 tested positive for Listeria Monocytogenes. House of Thaller

requires all its ingredient suppliers to supply ingredients, such as black beans, to be free

of any of species of Listeria, including Listeria Monocytogenes. House of Thaller is held



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to the same standard—that all its products are to be free of any species of Listeria—by

each of its customers. This is an industry standard for all ready to eat products.

         13.      With this discovery of Listeria Monocytogenes, a DNA strain typing test was

ordered. It was determined that this DNA strain had not been previously detected in any

prior testing performed by House of Thaller. The new DNA strain was labeled “Pattern 3

Listeria Monocytogenes”. Hanover transported black beans contaminated with Pattern 3

Listeria Monocytogenes to House of Thaller’s production facility. Because of such, House

of Thaller rejected lot 17052323. Rejected lot 17052323 was authorized to be returned to

Hanover by Hanover and was to be delivered to Hanover Foods Corporation, 1175 Wilson

Avenue, Hanover, Pennsylvania 17331. House of Thaller still continued to use Hanover

as a black bean supplier under the supposition that this was a onetime occurrence that

was caused at receipt of lot 17052323 and did not have any further impact on House of

Thaller’s finished product or production facility.

         14.      On June 29, 2017, a routine, customer mandated environmental and

finished product test was conducted. This testing returned a positive result for Pattern 3

Listeria Monocytogenes. Because the findings of positive Pattern 3 Listeria

Monocytogenes included House of Thaller’s finished product and production facility,

House of Thaller entered into a period of full test and hold until the source of

contamination could be determined and eradicated.

         15.      During the period of extensive testing, House of Thaller tested several

finished products, pieces of equipment, and areas of its production facility. In total, House

of Thaller found 22 samples, both from finished product and its production facility, that

returned positive Pattern 3 Listeria Monocytogenes results—the same Pattern 3 Listeria



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Monocytogenes found in the Hanover black beans that were ultimately rejected and

returned to Hanover in March 2017. The Pattern 3 Listeria Monocytogenes caused

damage to House of Thaller’s property, which resulted in House of Thaller’s business

being interrupted. The damaged property was discovered between June 29, 2017 and

July 15, 2017. The following chart demonstrates the test results from samples taken

between June 29, 2017 and July 15, 2017:

        LAB ID NUMBER                      PRODUCT DESCRIPTION               SAMPLE DATE

 0630134                                   HoT-th1-06292017-260-        June 29, 2017
                                           prod-1706300-Filler Hopper
 063061                                    HoT-P-06292017-1706301       June 29, 2017
                                           (Day 1) WB Beginning
 063067                                    GoT-P-06292014-1706341       June 29, 2017
                                           CU Beginning
 0707397                                   HoT-TH1-07062017-Prod-       July 6, 2017
                                           235-1707015-Hummus
                                           Hopper
 0707432                                   HoT-P-07062017-1707002-      July 6, 2017
                                           Beginning (Carrot)
 0707444                                   HoT-P-070522017-             July 5, 2017
                                           1707010          Beginning
                                           (Edamame)
 0706520                                   HoT-P-07022017-1706346       July 2, 2017
                                           Sample 1 (Cilantro Lemon)
 0706512                                   HoT-P-07052017-1706348,      July 5, 2017
                                           Beginning (Roasted Red
                                           Pepper)
 0706517                                   HoT-P-07062017-1707016,      July 6, 2017
                                           End (Roasted Garlic White
                                           Bean)
 0706515                                   HoT-P-07062017-1707016,      July 6, 2017
                                           Beginning (Roasted Garlic
                                           White Bean)
 0707435                                   HoT-P-07062017-1707015,      July 6, 2017
                                           Beginning Spicy White
                                           Bean
 0707443                                   HoT-P-07052017-1707010,      July 5, 2017
                                           Beginning Edamame
 BL46537                                   HoT-TH1-07152017-210-        July 15, 2017
                                           Test Batch-Motor Seal

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 BL46541                                   HoT-TH1-0715201-210-          July 15, 2017
                                           Test Batch-Hopper Gap
                                           (During Drop)
 BL46543                                   HoT-TH1-07152017-210-         July 15, 2017
                                           Test Batch-Lower Slide
                                           Rear
 BL46544                                   HoT-TH1-07152017-210-         July 15, 2017
                                           Test Batch-VMag Drop
                                           Door (Closed)
 BL46545                                   HoT-TH1-07152017-210-         July 15, 2017
                                           Test    Batch-Door    Slide
                                           Liquid
 BL46548                                   HoT-TH1-07152017-210-         July 15, 2017
                                           Test Batch-Hopper Gap (1st
                                           Stop)
 BL46523                                   HoT-TH-0715201-210-Test       July 15, 2017
                                           Batch-Prod. Sample 1
 BL46524                                   HoT-TH-0715201-210-Test       July 15, 2017
                                           Batch-Prod. Sample 2
 BL46525                                   HoT-TH-0715201-210-Test       July 15, 2017
                                           Batch-Prod. Sample 3
 BL45859                                   HoT-P-07142017-1707092        July 14, 2017
                                           Yellow Lentil Hummus-
                                           Beginning, Middle, End


Certified Laboratories, Inc., performed this testing and produced these test results. All the

above-stated positive test results traced back to the same Pattern 3 Listeria Monocytogenes

found in the rejected black beans produced by Hanover.

         16.      The presence of Pattern 3 Listeria Monocytogenes in House of Thaller’s

finished product, in House of Thaller’s production facility, and on House of Thaller’s

equipment, resulted in in property damage occurring and was discovered between June 29,

2017 and July 15, 2017. Immediately after discovering the vast presence of Pattern 3 Listeria

Monocytogenes in its finished product, production facility, and equipment, House of Thaller

discontinued use of Hanover Beans. However, because of the vast presence of Pattern 3

Listeria Monocytogenes, House of Thaller was forced to destroy hundreds of thousands of


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dollars worth of finished product as that finished product had been associated with the

positive Pattern 3 Listeria Monocytogenes.

         17.      In or about July 2017, House of Thaller’s production facility had to be shut

down and deep cleaned in an attempt to eliminate the source of the continued Pattern 3

Listeria Monocytogenes findings. This resulted in hundreds of production hours lost and

great expense to deep clean the production facility to eradicate Pattern 3 Listeria

Monocytogenes that Hanover introduced to House of Thaller’s production facility.

         18.      After a complete shutdown of House of Thaller’s production facility, extensive

environmental testing was conducted. This testing showed that any trace of Pattern 3

Listeria Monocytogenes had been eliminated from House of Thaller’s finished product,

production facility, and processing equipment. However, Pattern 3 Listeria Monocytogenes

was later reintroduced into House of Thaller’s production facility after House of Thaller

continued use of Hanover produced black beans.

         19.      During the period of increased testing and continued Pattern 3 Listeria

Monocytogenes findings, customer orders were dramatically shorted due to the disposal of

contaminated finished product. Due to Hanover’s introduction of Pattern 3 Listeria

Monocytogenes into House of Thaller’s production facility, thousands of pounds of finished

product had to be disposed of, which resulted in customer orders being put at risk. As a

result thereof, House of Thaller’s customers threatened to discontinue use of House of

Thaller as a supplier if shortages and delays continued to persist. In an attempt to satisfy

understandably upset customers, House of Thaller expedited orders to its customers until

those customers were able to be made whole in terms of on time and in full deliveries. These

expedited freight charges were a costly expense borne by House of Thaller due to Hanover’s



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introduction of Pattern 3 Listeria Monocytogenes into House of Thaller’s finished product,

production facility, and processing equipment.

         20.      House of Thaller submitted a claim to its insurance company, Acuity—claim

no. PY8030. Under the policy, Acuity paid House of Thaller what it was contractually

obligated to pay. Acuity paid House of Thaller a total of $468,721.00 under claim no.

PY8030. This includes $448,721.00, for which Acuity paid House of Thaller under the

Business Income and Extra Expenses coverages; $15,000.00, for which Acuity paid

House of Thaller for laboratory testing; and $5,000, for which Acuity paid House of Thaller

for the costs to prepare inventory. In total, Acuity’s subrogation interest is $468,721.00.

         21.      However, House of Thaller suffered losses in the millions. An estimate of

total damages suffered by both House of Thaller and Acuity as a result of Hanover’s

introduction of Pattern 3 Listeria Monocytogenes into House of Thaller’s production facility:

 Expedited Freight                                        $280,155.09
 Retailer chargebacks                                     $80,094.00
 Hanover Finished Product Disposals                       $ 376,754.07
 Costs Associated with Hanover Product
 Disposals                                                $ 17,470.83
 Hanover Lab Testing                                      $ 97,835.21
 Trailer Rental Fees                                      $ 3,975.27
 Diesel Purchased for Refer Storage Trailer               $ 3,542.04
 Interest on LOC Bank Loans                               $ 70,581.76

 Consultation         -    Tracking        of   Freight $ 15,168.00
 Deductions

 Special Cleaning by QSI During Plant $ 3,774.00
 Shutdown
 Cost of Excess Labor Hours           $ 895,717.30
 Excess Labor Price                   $ 55,738.26
 Lost Contribution Margin and Labor $ 1,573,889.37
 Coverage
 TOTAL                                $ 3,474,695.20



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The $3,474,695.20 in damages were caused by Hanover’s introduction of Pattern 3 Listeria

Monocytogenes into House of Thaller’s finished product, production facility, and processing

equipment. Of the $3,474,695.20 in damages sustained by House of Thaller, Acuity paid

$468,721.00. House of Thaller’s uninsured losses as a result of Hanover’s introduction of

Pattern 3 Listeria Monocytogenes into House of Thaller’s finished product, production

facility, and processing equipment amounts to $3,005,974.20.

                                     IV.   COUNT I – NEGLIGENCE

         22.      Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 21.

         23.      Hanover, as a producer of raw materials and ingredients that ultimately end

up in finished consumer foods, had a duty to deliver black beans to House of Thaller free of

all Listeria, including Pattern 3 Listeria Monocytogenes. Hanover owed a duty of care as

House of Thaller would not have approved and used Hanover as a producer and supplier

of raw materials and ingredients if House of Thaller had known Hanover would introduce

any Listeria, including Pattern 3 Listeria Monocytogenes, through Hanover’s raw materials

and ingredients into House of Thaller’s finished product, production facility, and equipment.

         24.      Hanover breached its duty owed to House of Thaller when it negligently

introduced Listeria, including Pattern 3 Listeria Monocytogenes, through Hanover’s raw

materials and ingredients into House of Thaller’s finished product, production facility, and

equipment.

         25.      Listeria, including Pattern 3 Listeria Monocytogenes, would not have been

present but for the negligence of Hanover.




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         26.      Hanover’s negligence of introducing Listeria, including Pattern 3 Listeria

Monocytogenes, into House of Thaller’s finished product, production facility, and equipment

was the cause in fact and proximate or legal cause of the damages as set forth herein.

         27.      Hanover’s negligence of introducing Listeria, including Pattern 3 Listeria

Monocytogenes, into House of Thaller’s finished product, production facility, and equipment

caused damages to both Plaintiffs.

                               V.          COUNT II – NEGLIGENCE PER SE

         28.      Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 27.

         29.      Hanover shipped black beans that were contaminated with Pattern 3 Listeria

Monocytogenes to House of Thaller. By doing so, Hanover violated the FDA’s code of

federal regulations 21 C.F.R. § 117 et seq.

         30.      Hanover was negligent per se in shipping black beans contaminated with

Pattern 3 Listeria Monocytogenes to House of Thaller. This violation of 21 C.F.R. § 117 et

seq. constitutes negligence per se.

         31.      Listeria, including Pattern 3 Listeria Monocytogenes, would not have been

present but for the negligence per se of Hanover.

         32.      Hanover’s negligence per se of shipping black beans contaminated with

Pattern 3 Listeria Monocytogenes to House of Thaller was the cause in fact and proximate

or legal cause of the damages as set forth herein. This act resulted in House of Thaller’s

finished product, production facility, and processing equipment being contaminated with

Pattern 3 Listeria Monocytogenes, which caused Plaintiffs to sustain damages in the amount

of $3,474,695.20.



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                                 VI.       COUNT III – BREACH OF CONTRACT

         33.      Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 32.

         34.      Hanover had express knowledge of House of Thaller’s expressly written

supplier/vendor approval requirements. Hanover executed and returned to House of Thaller

a “Vender Information Request” document, which expressly advised Hanover of the

specifications House of Thaller requires of its vendors. Hanover executed and returned to

House of Thaller a “Supplier Questionnaire” advising it had knowledge and understood that

House of Thaller will not accept any Listeria species, including Pattern 3 Listeria

Monocytogenes, into its production facility. Through these documents that Hanover

executed and returned to House of Thaller, as well as the numerous purchase orders, House

of Thaller and Hanover had a valid and enforceable contract.

         35.      As part of this valid and enforceable contract, Hanover agreed in exchange

for payment from House of Thaller, to deliver black beans free of all Listeria, including

Pattern 3 Listeria Monocytogenes.

         36.      House of Thaller paid Hanover for black beans free of Listeria, including

Pattern 3 Listeria Monocytogenes. Hanover did not deliver black beans that were free of all

Listeria, including Pattern 3 Listeria Monocytogenes.

         37.      Pattern 3 Listeria Monocytogenes contaminated House of Thaller’s finished

product, production facility, and processing equipment. Hanover breached its contractual

duties owed to House of Thaller.

         38.      As a direct and proximate result of Hanover’s failures to meet its contractual

obligations to House of Thaller, House of Thaller’s finished product, production facility, and



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processing equipment were contaminated with Pattern 3 Listeria Monocytogenes, and

Plaintiffs sustained damages in the amount of $3,474,695.20.

                   VII.     COUNT IV – BREACH OF IMPLIED CONTRACTUAL DUTY

         39.      Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 38.

         40.      House of Thaller and Hanover had a valid and enforceable contract.

         41.      Hanover had an implied contractual duty to deliver black beans to House of

Thaller free of all Listeria, including Pattern 3 Listeria Monocytogenes.

         42.      Failure to deliver black beans to House of Thaller free of all Listeria, including

Pattern 3 Listeria Monocytogenes, constitutes a breach of contract.

         43.      Hanover did not deliver black beans to House of Thaller free of all Listeria,

including Pattern 3 Listeria Monocytogenes. Instead, Hanover delivered black beans to

House of Thaller contaminated with Pattern 3 Listeria Monocytogenes. The Pattern 3

Listeria Monocytogenes contaminated black beans caused property damage as it

contaminated House of Thaller’s finished product, production facility, and processing

equipment. Hanover should have delivered black beans to House of Thaller free of all

Listeria, including Pattern 3 Listeria Monocytogenes; but Hanover did not.

         44.      Hanover did not perform its contractual obligations when it delivered black

beans to House of Thaller contaminated with Pattern 3 Listeria Monocytogenes that

ultimately caused property damage when it damaged House of Thaller’s finished product,

production facility, and processing equipment and therefore breached its implied contractual

duties to House of Thaller.

         45.      As a direct and proximate result of Hanover’s breaches of its implied



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contractual duties to House of Thaller, House of Thaller’s finished product, production

facility, and processing equipment were contaminated with Pattern 3 Listeria

Monocytogenes, and Plaintiffs sustained damages in the amount of $3,474,695.20.

                      VIII.    COUNT V – BREACH OF IMPLIED WARRANTY

         46.      Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 45.

         47.      The black beans contaminated with Pattern 3 Listeria Monocytogenes

distributed and sold by Hanover were not merchantable for its intended use; furthermore,

Hanover knew or should have known the black beans contaminated with Pattern 3 Listeria

Monocytogenes were not merchantable and were unfit for its intended use. Hanover

breached the implied warranty of merchantability and the implied warranty of fitness for a

particular purpose of the black beans contaminated with Pattern 3 Listeria Monocytogenes.

         48.      Hanover is a seller and supplier of black beans, and House of Thaller was

Hanover’s customer with respect to these black beans. As a seller of these black beans,

Hanover breach its implied warranty of merchantability as defined under Tenn. Code Ann.

§ 47-2-314, implied warranty of fitness for a particular purpose as defined under Tenn. Code

Ann. § 47-2-315, and/or any express warrantied as defined under Tenn. Code Ann. § 47-2-

313.

         49.      As a direct result of Hanover’s breach of implied warrant of merchantability,

breach of implied warranty for a particular purpose, an/or breach of express warranty, House

of Thaller’s finished product, production facility, and processing equipment were

contaminated with Pattern 3 Listeria Monocytogenes, and Plaintiffs sustained damages in

the amount of $3,474,695.20.



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                          IX. COUNTY VI – STRICT PRODUCTS LIABILITY

         50.      Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 49.

         51.      Hanover was the seller of a defective product (black beans contaminated with

Pattern 3 Listeria Monocytogenes). In or around June and July 2017, the black beans

contaminated with Pattern 3 Listeria Monocytogenes contaminated House of Thaller’s

finished product, production facility, and processing equipment. In or around June and July

2017, the black beans contaminated with Pattern 3 Listeria Monocytogenes were unsafe for

normal anticipated use as defined under Tenn. Code Ann. § 29-28-101 et seq.

         52.      Pursuant to Tenn. Code Ann. § 29-28-101 et seq., “[a] … seller of a product

shall … be liable for any injury to … property caused by the product … [if] … the product is

determined to be in a defective condition or unreasonably dangerous at the time it left the

control of the … seller.”

         53.      Hanover is a seller of products as defined by Tenn. Code Ann. § 29-28-102

as it is in the business of selling a product, whether for resale, for use, or for consumption.

         54.      Hanover failed to ensure the black beans contaminated with Pattern 3 Listeria

Monocytogenes were free of all Listeria, including Pattern 3 Listeria Monocytogenes. The

black beans contaminated with Pattern 3 Listeria Monocytogenes were defective as the

black beans contaminated with Pattern 3 Listeria Monocytogenes were unsafe for normal

consumption.

         55.      Hanover exercised substantial control over the black beans contaminated with

Pattern 3 Listeria Monocytogenes when the beans were packaged for ultimate delivery to,

and receipt by, House of Thaller.



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         56.      In or around June 2017 and July 2017, Hanover and its employees, agents,

and representatives were strictly liable to Plaintiffs for producing, selling, and/or distributing

an unreasonably dangerous and defective product pursuant to Tenn. Code Ann. § 28-28-

105(a), which proximately caused property damage to House of Thaller’s finished product,

production facility, and processing equipment.

         57.      Hanover, its employees, agents, and representatives were negligent in this

manner because they failed to produce, manufacture, construct, design, assemble,

distribute, and sell a product that was safe and suitable for its intended and anticipated use.

         58.      As a direct result of Hanover’s failure to ensure the black beans contaminated

with Pattern 3 Listeria Monocytogenes were free of all Listeria, including Pattern 3 Listeria

Monocytogenes, House of Thaller’s finished product, production facility, and processing

equipment were contaminated with Pattern 3 Listeria Monocytogenes, and Plaintiffs

sustained damages in the amount of $3,474,695.20.

                                             X.   DAMAGES

         59.      Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 58.

         60.      House of Thaller sustained damages in an amount of $3,005,974.20.

         61.      Acuity sustained damages in an amount of $468,721.00.

         62.      Together, Plaintiffs sustained damages in an amount of $3,474,695.20.

                                  XI.      DEMAND FOR A JURY TRIAL

         63.      Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 62.

         64.      Plaintiffs demand a jury of 12 to try this matter.



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         WHEREFORE, Plaintiffs, House of Thaller, Inc. and Acuity, A Mutual Insurance

Company, pray as follows:

         1.       That the Defendant, Hanover Foods Corporation, be required to appear and

answer herein;

         2.       That Plaintiffs be awarded its damages as described herein along with pre-

judgment and post-judgment interest;

         3.       That the costs of this action, including discretionary costs, be assessed

against the Defendant, Hanover Foods Corporation; and

         4.       For such other and further legal and equitable relief as this Court deems just

and proper.




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                                           Respectfully submitted,



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                                           Company as subrogee of House of Thaller, Inc.

                                           and

                                           _s/Charles G. Taylor__________________________
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